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UNITED STATES COURT OF INTERNATIONAL TRADE                                             FORM 1
 AIDA-America Corporation

                                  Plaintiff,                          S U M M O N S Court No. 1:18-cv-215
           v.

 UNITED STATES,
                                  Defendant.

TO:        The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                        /s/ Mario Toscano
                                                       Clerk of the Court


                                                PROTEST
 Port of
 Entry:         San Francisco                          Date Protest
                                                       Filed:
                                                                      10/21/2015
 Protest
 Number:
                2809-15-100619                         Date Protest
                                                       Denied:
                                                                      10/10/2018

 Importer:      AIDA-America Corporation
 Category of                                           and 8466.10.0110.
 Merchandise:
                  8462.10.0055; 8466.94.8585;

                           ENTRIES INVOLVED IN ABOVE PROTEST
      Entry             Date of            Date of         Entry               Date of            Date of
     Number              Entry           Liquidation      Number                Entry           Liquidation
 1630318-5             11/4/2014         9/18/2015




                                                       Asa W. Markel
Port Director,                                         Masuda, Funai, Eifert & Mitchell, Ltd.
555 Battery Street                                     19191 S. Vermont Ave., Ste. 420
                                                       Torrance, CA 90502; (310) 630-5900
San Francisco, CA 94111                                amarkel@masudafunai.com

Address of Customs Port in                                Name, Address, Telephone Number
Which Protest was Denied                                  and E-mail Address of Plaintiff's Attorney
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                            CONTESTED ADMINISTRATIVE DECISION

                                      Appraised Value of Merchandise
                                       Statutory Basis                               Statement of Value
                               19 U.S.C. § 1401a(b)(1)                        Value of milestone payment
 Appraised:                                                                   from project agreement used
                                                                              for appraisement

                               19 U.S.C. § 1401a(c)(2)                        Appraisement should be based
 Protest Claim:                                                               on value of identical
                                                                              merchandise, not project
                                                                              milestone

                                        Classification, Rate or Amount
                                            Assessed                                       Protest Claim
                         Paragraph or                                         Paragraph or
    Merchandise          Item Number                          Rate            Item Number                    Rate




                                             Other
 State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:
 The decision improperly included the value of milestone payments from the buyer's and seller's project
 agreements in the value of the merchandise, leading to duty and fees overpayment of $473,775.11.

 The issue which was common to all such denied protests:
  N/A


Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized person
in the importer's behalf. The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at
the port of entry unless otherwise shown.

                                               s/ Asa W. Markel
                                              ______________________________________________
                                                                 Signature of Plaintiff's Attorney
                                              October 18, 2018
                                              __________________________________________________________
                                                                   Date
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                                           SCHEDULE OF PROTESTS
         San Francisco
        __________________________
                 Port of Entry

  Protest                 Date Protest   Date Protest     Entry              Date of           Date of
  Number                   Filed          Denied          Number             Entry            Liquidation
N/A




 Port Director of Customs,
                                                             If the port of entry shown
                                                             above is different from the
                                                             port of entry shown on the
                                                             first page of the summons,
                                                             the address of the Port
                                                             Director for such different
                                                             port of entry must be given
                                                             in the space provided.



(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
